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                                UNITED STATES DISTRICT COURT
                            FOR THE MIDDLE DISTRICT OF LOUISIANA

 ALEX A., by and through his guardian,
 MOLLY SMITH, individually and on behalf
 of all others similarly situated,

                   Plaintiff,
                                                    Civil Action No. 3:22-573 (SDD) (RLB)
 v.

 GOVERNOR JOHN BEL EDWARDS, in his
 official capacity as Governor of Louisiana;
 WILLIAM SOMMERS, in his official
 capacity as Deputy Secretary of the Office of
 Juvenile Justice, JAMES M. LEBLANC, in
 his official capacity as Secretary of the
 Louisiana Department of Public Safety &
 Corrections,

                    Defendants.


                      PLAINTIFF’S TRIAL WITNESS AND EXHIBIT LIST


           NOW INTO COURT, through undersigned counsel, comes Plaintiff, who pursuant to this

Court’s Scheduling Order, timely submits the following list of witnesses and exhibits in connection

with the trial of this matter.

      I.      WITNESSES

      A) Alex A., c/o Murell Law Firm, 2831 St. Claude Ave, New Orleans, LA 70117. (504) 717-

           1297. Testimony regarding his experiences as a youth in Louisiana’s juvenile justice

           system and imminent transfer to the Louisiana State Penitentiary at Angola, and

           authentication of relevant documents and information.

      B) Molly Smith, c/o Murell Law Firm, 2831 St. Claude Ave, New Orleans, LA 70117. (504)

           717-1297. Alex A.’s guardian. Testimony regarding Plaintiff’s experiences as a youth in

           Louisiana’s juvenile justice system and imminent transfer to the Louisiana State


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   Penitentiary at Angola, his experiences growing up, and authentication of relevant

   documents and information.

C) Dr. Monica Stevens, Department of Psychiatry and Behavioral Sciences Tulane University

   School of Medicine 1430 Tulane Avenue, #8055 New Orleans, LA 70112, (504) 988-5246.

   Expert testimony about plaintiff’s physical and emotional state as a result of imminent

   transfer to the Louisiana State Penitentiary at Angola.

D) Vincent N. Schiraldi, MSW, 18-05 27th Ave, 5A, Astoria, NY 11102, (347) 559-3699.

   Expert testimony about the harm to adolescents who are transferred from OJJ’s system to

   the Louisiana State Penitentiary at Angola.

E) Deputy Secretary William Sommers, c/o Kyle Miller, 1020 Highland Colony Parkway,

   Suite 1400, Ridgeland, MS 39157, (601) 985-4514. Testimony about the decision and

   planning to transfer youth from OJJ’s system to the Louisiana State Penitentiary at Angola.

F) Otha “Curtis” Nelson, Jr., c/o Kyle Miller, 1020 Highland Colony Parkway, Suite 1400,

   Ridgeland, MS 39157, (601) 985-4514. Testimony about the decision and planning to

   transfer youth from OJJ’s system to the Louisiana State Penitentiary at Angola.

G) Deputy Warden Tracy Falgout, c/o Kyle Miller, 1020 Highland Colony Parkway, Suite

   1400, Ridgeland, MS 39157, (601) 985-4514. Testimony about the preparation and

   planning to accept youth from OJJ’s system to the Louisiana State Penitentiary at Angola,

   and security to be provided, including maintenance of the facility and its grounds and use

   of force policy on the youth.

H) Orlando Martinez, c/o Kyle Miller, 1020 Highland Colony Parkway, Suite 1400,

   Ridgeland, MS 39157, (601) 985-4514. Testimony about the decision to transfer youth




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   from OJJ’s system to the Louisiana State Penitentiary at Angola, planning for same, and

   expert tour.

I) Angela Jacobs Bridgewater, c/o Kyle Miller, 1020 Highland Colony Parkway, Suite 1400,

   Ridgeland, MS 39157, (601) 985-4514. Testimony about the planning to transfer youth

   from OJJ’s system to the Louisiana State Penitentiary at Angola, the policy and procedure

   for selecting and transferring youth, and what happens to youth who are transferred.

J) Revettea Woods, c/o Kyle Miller, 1020 Highland Colony Parkway, Suite 1400, Ridgeland,

   MS 39157, (601) 985-4514. Testimony about OJJ’s administrative remedy process.

K) Beth Broussard, c/o Kyle Miller, 1020 Highland Colony Parkway, Suite 1400, Ridgeland,

   MS 39157, (601) 985-4514. Testimony about the transfer of Alex A. OJJ’s secure care

   system to the Louisiana State Penitentiary at Angola.

L) Denise Dandridge, c/o Kyle Miller, 1020 Highland Colony Parkway, Suite 1400,

   Ridgeland, MS 39157, (601) 985-4514. Testimony about the planning to provide medical

   and mental health care to youth who are transferred from OJJ’s system to the Louisiana

   State Penitentiary at Angola.

M) Angela Jacobs Bridgewater, c/o Kyle Miller, 1020 Highland Colony Parkway, Suite 1400,

   Ridgeland, MS 39157, (601) 985-4514. Testimony about the planning to transfer youth

   from OJJ’s system to the Louisiana State Penitentiary at Angola, the policy and procedure

   for selecting and transferring youth, and what happens to youth who are transferred.

N) Deron Patin, c/o Kyle Miller, 1020 Highland Colony Parkway, Suite 1400, Ridgeland, MS

   39157, (601) 985-4514. Testimony about the planning to transfer youth from OJJ’s system

   to the Louisiana State Penitentiary at Angola and planning regarding sight and sound

   separation between transferred youth and adults.




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O) Shenell Deville, c/o Kyle Miller, 1020 Highland Colony Parkway, Suite 1400, Ridgeland,

      MS 39157, (601) 985-4514. Testimony about the planning to transfer youth from OJJ’s

      system to the Louisiana State Penitentiary at Angola and planning regarding education for

      transferred youth at Angola.

P) Any witness listed by the Defense.

II.      EXHIBITS

 Exhibit          Description                                  Bates Number
 Number
 P1               20220818 T Smith dec-Unredacted              000001-000005
 P2               ARP-Unredacted                               000006-000014
 P3               BCCY Angola letter 8.2 signatures            000015-000021
 P4               demand letter and response                   000022-000031
 P5               DOC Open Records response                    000032-000034
 P6               Glenn Holt dec and resume                    000035-000042
 P7               July 19 press Edwards release                000043-000044
 P8               OJJ Open Records response                    000045-000046
 P9               Parent Declaration - M.S. (Executed)         000047-000048
 P 10             SSD1 Open Records response                   000049-000052
 P 11             V. Schiraldi Resume January 2022             000053-000064
 P 12             Vincent N. Schiraldi CV                      000065-000076
 P 13             Affidavit of Beth Broussard                  000077-000079
 P 14             Affidavit of Denise Dandridge                000080-000081
 P 15             Affidavit of Deron Patin                     000082-000087
 P 16             Affidavit of Revettea Woods                  000088-000142
 P 17             Affidavit of Shenell Deville                 000143-000147
 P 18             Declaration of Angela Bridgewater            000148-000179
 P 19             Declaration of Curtis Nelson                 000180-000211
 P 20             20220901-Anogla-Photographs of Angola        000212-000231, 000233-
                  Jail_Vincent Schiraldi                       000283, 000288-000292,
                                                               000297-000322, 000325-
                                                               000335, 000337-000338,
                                                               000344-000367, 000369-
                                                               000415, 000417-000437
 P 21             Video- IMG_5356_Leaking                      000438
                  Faucet_Jail_Vincent
 P 22             Video- IMG_5357_Cell tier                    000439
                  video_Jail_Vincent
 P 23             Video- IMG_5359_Cell door                    000440
                  operating_Jail_Vincent
 P 24             Video- IMG_5387_Shakey Restraint             000441


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           Box_Jail_Vincent
P 25       Video- IMG_5458_Video of Social               000442
           Service Area_Jail_Vincent
P 26       SSD Contingency Emails                        000443-000444
P 27       122_8-10-22 staffing pattern and needed       000445-000446
           resources (2)
P 28       225_BCCY SOP C.1.12 Recreation and            000447-000450
           Activity Monitoring
P 29       226_C.1.12 Leisure and Recreation             000451-000455
           Activities 02-01-21
P 30       419_WS2                                       000456-000475
P 31       421_WS4                                       000476-000478
P 32       427_BCCY-WF MOU                               000479-000484
P 33       Acadiana Vacant Positions                     000485
P 34       Bridge City Center_Google Map                 000486
P 35       Video- 2018 PbS Kids Got Talent Finalist      000487
           Bridge City Center for Youth- Group
           Drumline Performance
P 36       The Advocate-After turmoil in youth jails,    000488-000499
           guards form adult prisons respond with use
           of force auth.
P 37       01_BCCY-WF Organizational Chart (1)           000500-000507
P 38       25_WFCY Schematic Layout                      000508-000511
P 39       34_B.2.21 Behavioral Intervention (BI)        000512-000523
           and Extended BI 08-01-22
P 40       No light. No nothing                          000524-000539
P 41       B.2.8                                         000540-000644
P 42       B.5.3                                         000645-000675
P 43       Central Southwest Alternative High School     000676-000678
           Louisiana Department of Education
P 44       Children in Lockdown_ Solitary Confinem       000679-000686
P 45       Educational Services - Office of Juvenile     000697-000698
           Justice
P 46       education-for-youth-in-the-juvenile-          000679-000696
           justice-system
P 47       Effects on Violence of Laws and Policie..     000699-000712
P 48       Gov. Edwards Activates Louisiana State ..     000713-000714
P 49       Gov. Edwards Announces Ongoing                000715-000718
           Investig..
P 50       Gov. Edwards Appoints a New Deputy            000719-000720
           Secr..
P 51       Inside the U.S.’s Largest Maximum-            000721-000740
           Secur...ed Their Fight a Success
P 52       Internal document outlining program for..     000741-000747
P 53       Locked in Solitary at 14_ Adult Jails I.      000748-000751


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   P 54           New Report, Getting to Zero_ A 50 State..      000752-000754
   P 55           SG Declaration re BCCY ARP Process             000755-000756
   P 56           Southern Education Foundation - Just           000757-000804
                  Learning - Report on Juvenile Justice
                  Schools, 2014
   P 57           Southside Alternative High School _            000805-000808
                  Louisiana Department of Education
   P 58           Two juveniles still at large after escape      000809-000816
                  from OJJ facility in St
   P 59           US_ Teens in Solitary Confinement _            000817-000823
                  Human Rights Watch
   P 60           View from back entrance_Google Map             000824
   P 61           20220823 Lens Internal Document Raises         000825-000851
                  Concerns and program summary_full doc.
   P 62           Marked up Google View Picture_Glenn            000852
   P 63           Human Rights Watch                             000853-000999
   P 64           Aerial Photos of Facility_Google Map           001000-001001
   P 65           8_SSD - Contract FY2021 Final                  001002-001015
   P 66           Doc 1- Class Action Complaint                  001116-001130
   P 67           Doc 3- Plaintiff's Emergency Motion for        001131-001133
                  Temporary Restraining Order
   P 68           Doc 9- Memorandum in Support of                001134-001210
                  Plaintiff's EMTRO
   P 69           Doc 28- Defendants' Response to                001211-001384
                  Opposition to ETRO
   P 70           OJJ-000066-OJJ-000067-Bridge City              001385-001386
                  Center for Youth at West Feliciana
   P 71           OJJ-000259-OJJ-000263-Memo of                  001387-001391
                  Understanding
   P 72           Family and Culinary Arts Vocational            0001392
                  Program_Google Map
   P 73           Bridge-City-Center-for-Youth-at-West-          (001393-001413)
                  Feliciana-Program-Summary
   P 74           Expert Report of Dr. Monica Stevens
   P 75           Expert Report of Vincent Schiraldi


     Respectfully submitted, this 2nd day of September, 2022.

/s/: David J. Utter                               /s/: Christopher J. Murell
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                                                      ** Lead Counsel

                                                      ATTORNEYS FOR PLAINTIFF

                                    CERTIFICATE OF SERVICE

        I hereby certify that on the 2nd day of September, 2022, a copy of the foregoing pleading was

served upon all counsel of record by electronic transmission.

                                                 /s/ David J. Utter


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                             DAVID J. UTTER




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